CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 1 of 12
                                               20-mj-480 DTS
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 2 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 3 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 4 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 5 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 6 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 7 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 8 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 9 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 10 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 11 of 12
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/26/20 Page 12 of 12
